         Case 1:21-mj-00579-GMH Document 1-1 Filed 08/25/21 Page 1 of 4




                                   STATEMENT OF FACTS

        Your affiant, Angela M. Bronson, is a Special Agent assigned to the Federal Bureau of
Investigation, Pittsburgh Division. In my duties as a special agent, I am assigned to the Joint
Terrorism Task Force, specifically specializing in Domestic Terrorism. Currently, I am a tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a special
agent, I am authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


                                                 1
         Case 1:21-mj-00579-GMH Document 1-1 Filed 08/25/21 Page 2 of 4




violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                    Evidence Linking SIZER to Assault on the U.S. Capitol

        On or about January 7, 2021, a complainant submitted an online tip to the FBI National
Threat Operations Center reporting that JULIA JEANETTE SIZER (SIZER) was involved in the
breach of the United States Capitol on January 6, 2021. The complainant advised he/she obtained
a video of SIZER in the “capitol building during the insurrection.” The complainant further
explained that the video was shared by SIZER and that he/she did not know SIZER personally but
obtained the video through a mutual friend. Some time following the submission of the original
tip on January 7, 2021, the complainant was interviewed by a Task Force Officer assigned to the
FBI Cleveland Division and provided the video shared by SIZER to the FBI. Your Affiant
obtained this video from the Task Force Officer on or about January 29, 2021, and has viewed its
contents.

        On or about January 29, 2021, your Affiant contacted SIZER via telephone at telephone
number xxx-xxx-1638 to request an interview based upon information that SIZER was present
inside the United States Capitol on January 6, 2021. At this time, SIZER denied being inside the
United States Capitol. Subsequently, your Affiant received a voicemail message from legal
counsel representing SIZER.

         On or about February 2, 2021, the United States Capitol Police Investigations Division
Threat Assessment Division was shown the video allegedly made by SIZER and identified cameras
that corresponded with the area inside of the Capitol building from which the video was taken.
These cameras were located on the west side of the Capitol building located in the Senate Press
Gallery foyer entrance. Your affiant reviewed the CCTV footage from those cameras and was
initially unable to identify SIZER among the crowd.

        According to records obtained through a search warrant served on Google, a mobile device
associated with xxx-xxx-1638 was not determined to be among those devices present at the United
States Capitol building on January 6, 2021. 1

        On or about March 12, 2021, your Affiant interviewed SIZER in the presence of her legal
counsel. SIZER confirmed that, despite her prior statements on January 29, 2021, she was inside
of the United States Capitol building on January 6, 2021, and described the location through which
she entered the Capitol building. This description coincided with the west side of the Capitol
building in the Senate Press Gallery area. SIZER was shown the video she allegedly took inside
of the Capitol building on January 6, 2021 and she confirmed that it was in fact the video she took
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       Google estimates device location using sources including GPS data and information about
nearby Wi-Fi access points and Bluetooth beacons. This location data varies in its accuracy,
depending on the source(s) of the data. As a result, Google assigns a “maps display radius” for
each location data point. Thus, where Google estimates that its location data is accurate to within
10 meters, Google assigns a “maps display radius” of 10 meters to the location data point. Finally,
Google reports that its “maps display radius” reflects the actual location of the covered device
approximately 68% of the time.
                                                 2
        Case 1:21-mj-00579-GMH Document 1-1 Filed 08/25/21 Page 3 of 4




inside of the Capitol building. SIZER described the clothing she was wearing when she entered
the Capitol building and allowed your Affiant to view the images and videos on her cellular
telephone bearing telephone number xxx-xxx-1638. SIZER also affirmed that she still possessed
the clothing that she wore on January 6, 2021.

        Subsequent to the interview of SIZER and based upon her description of the clothing she
wore on January 6, 2021, your Affiant again reviewed the CCTV footage from the relevant
cameras and was able to identify SIZER in the CCTV footage. The CCTV footage revealed that
SIZER entered the United States Capitol building approximately 8 minutes after the original surge
forced through the door. SIZER remained in the foyer area for less than three minutes before she
exited the United States Capitol building through the door that she entered. SIZER was not
observed in the CCTV footage causing damage to the Capitol building, taking any item from the
Capitol building, or causing physical harm to any person within the Capitol building. The
following images show SIZER within the United States Capitol building. In the image
immediately below on the left, SIZER appears to be holding a cellular telephone. In each image,
she is wearing a distinctive “Trump” hat.




      Based on the foregoing, your affiant submits that there is probable cause to believe that
JULIA JEANETTE SIZER violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)

                                               3
         Case 1:21-mj-00579-GMH Document 1-1 Filed 08/25/21 Page 4 of 4




knowingly enter or remain in any restricted building or grounds without lawful authority to do so;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that JULIA JEANETTE SIZER
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which make it a crime to willfully and knowingly (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
in that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      Angela Bronson
                                                      Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 25th day of August 2021.
                                                                       Digitally signed by G.
                                                                       Michael Harvey
                                                                       Date: 2021.08.25
                                                      ___________________________________
                                                                       16:20:41 -04'00'
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE




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